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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )                    8:06CR119
                                            )
              v.                            )
                                            )
LEONEL GARCIA-PADILLA,                      )                      ORDER
                                            )
                     Defendant.             )
                                            )


       This matter is before the court on its own motion. The defendant, pro se, has filed
a 28 U.S.C. §2555 Motion to Vacate (Filing No. 131). The court has reviewed the
government’s answer (Filing No. 133) and the defendant’s reply (Filing No. 138) and finds
that an evidentiary hearing would benefit the court. The parties should be prepared to
argue the merit of both of the two grounds upon which the defendant has predicated his
§2555 motion (Filing No. 131). Accordingly,
       IT IS ORDERED:
       1.   The Federal Public Defender for the District of Nebraska is appointed to
represent the above named defendant in this matter. In the event that the Federal Public
Defender accepts this appointment, the Federal Public Defender shall forthwith file a written
appearance in this matter. In the event the Federal Public Defender should decline this
appointment for reason of conflict or on the basis of the Criminal Justice Act Plan, the
Federal Public Defender shall forthwith provide the court with a draft appointment order
(CJA Form 20) bearing the name and other identifying information of the CJA Panel
attorney identified in accordance with the Criminal Justice Act Plan for this district;
       2. The parties shall appear before the undersigned on February 20, 2009, at 3:30
p.m., Courtroom No. 3, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, and be prepared to argue the merit of both of the two grounds upon
which the defendant has predicated his §2555 motion (Filing No. 131), or to agree on an
appropriate scheduling order.
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      3. The defendant will not appear in person at the hearing. If the defendant wishes
to participate telephonically, his attorney must make the necessary arrangements through
the Bureau of Prisons.
      DATED this 3rd day of February, 2009.

                                        BY THE COURT:



                                        s/ Joseph F. Bataillon
                                        Chief United States District Judge




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